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Counsel for Plaintiff

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

    BRANDON HOPE,                                   Case No: 2:21-cv-11449-ES-JBC

         Plaintiff,
                                                    NOTICE OF VOLUNTARY DISMISSAL
         v.                                         PURSUANT TO FED. R. CIV. P.
                                                    41(a)(1)(A)(i)
    ORBCOMM INC., JEROME B.
    EISENBERG, MARC J. EISENBERG,
    MARCO FUCHS, DENISE GIBSON,
    KAREN GOULD, TIMOTHY
    KELLEHER, and JOHN MAJOR,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Brandon Hope hereby voluntarily dismisses the above-captioned action.

Defendants have not served an answer or a motion for summary judgment.

Dated: July 15, 2021                              Respectfully submitted,

                                                  HALPER SADEH LLP

SO ORDERED.                                       /s/ Zachary Halper
                                                  Zachary Halper, Esq.
                                                  186 Darwin Lane
                                                  North Brunswick, NJ 08902
_____________________                             Telephone: (212) 763-0060
Hon. Esther Salas, U.S.D.J.                       Facsimile: (646) 776-2600
                                                  Email: zhalper@halpersadeh.com
Dated: July 19, 2021
                                                  Counsel for Plaintiff

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